   Case 2:20-cv-11601-MRA-PVC                  Document 45       Filed 02/09/24     Page 1 of 2 Page ID
                                                    #:320
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 20-11601 PA (PVCx)                                          Date    February 9, 2024
 Title             AEG Presents LLC v. YSL Touring LLC, et al.



 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
         Kamilla Sali-Suleyman                             Not Reported                           N/A
                 Deputy Clerk                             Court Reporter                        Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             None                                                  None
 Proceedings:                 IN CHAMBERS — COURT ORDER

       The Court has reviewed the First Amended Complaint (“1st AC”) filed by plaintiff AEG
Presents LLC (“Plaintiff”). The 1st AC alleges claims against YSL Touring LLC (“YSL”),
Jeffery Lamar Williams, and Young Stoner Life Publishing, LLC (“YSLP”) (collectively
“Defendants”). Plaintiff asserts that this Court possesses diversity jurisdiction over this action
pursuant to 28 U.S.C. § 1332.

        A party seeking to invoke the Court’s diversity jurisdiction must plausibly allege that
there is complete diversity of citizenship between the parties and that the amount in controversy
exceeds $75,000. See 28 U.S.C. § 1332; see also Academy of Country Music v. Continental
Cas. Co., 991 F.3d 1059, 1068 (9th Cir. 2021). To establish citizenship for diversity purposes, a
natural person must be a citizen of the United States and be domiciled in a particular state.
Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983). Persons are domiciled
in the places they reside with the intent to remain or to which they intend to return. See Kanter
v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001). “A person residing in a given state
is not necessarily domiciled there, and thus is not necessarily a citizen of that state.” Id. A
corporation is a citizen of both its state of incorporation and the state in which it has its principal
place of business. 28 U.S.C. § 1332(c)(1); see also New Alaska Dev. Corp. v. Guetschow, 869
F.2d 1298, 1300-01 (9th Cir. 1989). Finally, the citizenship of a partnership or other
unincorporated entity is the citizenship of its members. See Johnson v. Columbia Props.
Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006) (“[L]ike a partnership, an LLC is a citizen of
every state of which its owners/members are citizens.”).

       The 1st AC alleges that “Mr. Williams is a resident of Georgia for purposes of diversity
jurisdiction, as are YSL and YSLP, which are Georgia limited liability companies whose sole
member Mr. Williams is a resident of Georgia . . . .” (1st AC at 2:16-18; see also id. at ¶¶ 5 &
6.) According to the 1st AC, Plaintiff “is a Delaware limited liability company. AEG’s sole
member is Anschutz Entertainment Group, Inc., a Colorado corporation.” (Id. at ¶ 4.) Because
an individual is not necessarily domiciled where he or she resides, Plaintiff’s allegations
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 2
   Case 2:20-cv-11601-MRA-PVC            Document 45       Filed 02/09/24     Page 2 of 2 Page ID
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concerning the residence of Mr. Williams are insufficient to plausibly allege the citizenship of
Mr. Williams, YSL, or YSLP. Similarly, because Plaintiff has not alleged the location of the
principal place of business of Anschutz Entertainment Group, Inc., but only that it is a “Colorado
corporation,” Plaintiff has not adequately alleged its own citizenship. See Kanter, 265 F.3d at
857 (“Absent unusual circumstances, a party seeking to invoke diversity jurisdiction should be
able to allege affirmatively the actual citizenship of the relevant parties.”). For this reason,
Plaintiff has failed to adequately allege the citizenship of any of the parties and, as a result, has
failed to meet Plaintiff’s burden to establish the Court’s diversity jurisdiction.

       The Court therefore orders the parties to show cause in writing why this action should not
be dismissed without prejudice for lack of subject matter jurisdiction. The parties’ responses to
this Order to Show Cause shall be filed by no later than February 20, 2024. Failure to timely and
adequately respond to this Order to Show Cause may, without further warning, result in the
dismissal of this action without prejudice.

         IT IS SO ORDERED.




CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                Page 2 of 2
